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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
In re: § Case No. 09-34031-H4-11
GOODCRANE CORPORATION ; Chapter 11
Debtor ;

 

JANET S. NORTHRUP, TRUSTEE §

§

§

§ ADVERSARY NO. 09-03318
ABC&P, LLC, BENJAMIN ALMEDA, JR., § (Consolidated with Adv. Pro. Nos.
CORAZON B. ALMEDA, PATRICK B. § 09-03324, 09-03332, and 09-03338)

ALMEDA AND MARIA VICTORIA §
ALMEDA §

Vv.

SECOND AMENDED NOTICE OF INTENTION TO TAKE ORAL DEPOSITION OF
BENJAMIN ALMEDA, JR.

PLEASE TAKE NOTICE that pursuant to Federal Rule of Bankruptcy Procedure 7030
and Federal Rule of Civil Procedure 30, Plaintiff Janet S. Casciato-Northrup, Chapter 11 Trustee
of the Bankruptcy Estate of GoodCrane Corporation, will take the oral deposition of Benjamin
Almeda, Jr. on Wednesday, April 14, 2010, at 9:30 a.m., at the offices of
HughesWattersAskanase, LLP, Three Allen Center, 333 Clay Street, 29th Floor, Houston, Texas
77002. The deposition will be recorded by stenographic means by a court reporter. The
deposition will continue from day-to-day thereafter until completed.

You are invited to attend and cross-examine.

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Respectfully submitted,

HUGHES WATTERS ASKANASE, LLP

By:

Piles, 2G nasil

Rhonda. Chandler

State Bar No. 04101600

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Houston, Texas 77002

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ATTORNEYS FOR PLAINTIFF

CERTIFICATE OF SERVICE

I hereby certify that I served a true and complete copy of the Notice of Intent to Take
Oral Deposition on all parties shown below, by first class mail, facsimile, or the court’s ECF

notice system, on February 18, 2010.

Sidney H. Scheinberg
2200 One Galleria Tower
13355 Noel Rd., LB 48
Dallas, TX 75240

Margaret M. McClure
909 Fannin, Suite 3810
Houston, TX 77010

Diane Tebelius

Lesourd & Patten, P.S.

600 University Street, Suite 2401
Seattle, WA 98101

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Kb trate. etree.

Rhond?/R. Chandler
